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     London Subscribing to Policy No. B0595XN5229017
17   (erroneously sued as Certain Underwriters at Lloyd's
     London subscribing to Besso policy number
18   B0595XN5229017, Apollo Liability Consortium Number
     9984, including Apollo Syndicate Management Limited)
19
                                 UNITED STATES DISTRICT COURT
20
                                         DISTRICT OF NEVADA
21

22   FREYSSINET, INC., a Virginia corporation,          Case No. 2:21-CV-00418-APG-BNW

23                                Plaintiff,             STIPULATION AND PROPOSED
                                                         ORDER TO CONTINUE DEADLINE TO
24                 vs.                                   DISMISS ACTION TO DECEMBER 31,
                                                         2021
25   BESSO INSURANCE GROUP LTD., et al.,

26                                Defendants.

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 1          This Stipulation is entered into by and between plaintiff Freyssinet, Inc. and defendants Certain
 2   Underwriters at Lloyd’s, London subscribing to policy no. B0595XN5229017 (“Underwriters”)
 3   (erroneously sued as Certain Underwriters at Lloyd’s London subscribing to Besso policy number
 4   B0595XN5229017, Apollo Liability Consortium Number 9984, including Apollo Syndicate
 5   Management Limited) by and through their undersigned counsel, with reference to the following:
 6          WHEREAS, Freyssinet filed a complaint initiating the instant action on March 12, 2021,
 7   captioned Freyssinet, Inc. v. Besso Insurance Group Ltd., Case No. 2:21-CV-00418-APG-BNW (D.
 8   Nev.) (the “Coverage Action”).
 9          WHEREAS, on April 12, 2021, Underwriters filed an answer in the Coverage Action. (ECF
10   No. 13.)
11          WHEREAS, pursuant to stipulation, the Court dismissed the following parties from the
12   Coverage Action without prejudice: Apollo Liability Consortium Number 9984 (ECF No. 44); Apollo
13   Syndicate Management Limited (ECF No. 44); and Besso Insurance Group Ltd. (ECF No. 46).
14          WHEREAS, Freyssinet and Underwriters are the only parties remaining in the Coverage
15   Action (the “Parties”).
16          WHEREAS, the Court approved a stipulated stay of the Coverage Action on June 8, 2021, to
17   allow the Parties to prepare for and participate in a mediation that could entirely resolve the matters in
18   dispute in the Coverage Action. (ECF No. 49.)
19          WHEREAS, the Court approved a stipulated continued stay of the Coverage Action on August
20   13, 2021, to allow the Parties to evaluate a mediator’s proposal that would resolve the Coverage Action
21   in its entirety. (ECF No. 51.)
22          WHEREAS, on September 7, 2021, the Parties advised the Court that they reached a settlement
23   in principle, and that they are in the process of negotiating a written agreement. (ECF No. 53.)
24          WHEREAS, the Court vacated pending dates, and ordered Freyssinet to dismiss the Coverage
25   Action with prejudice on or before November 30, 2021, or for the Parties otherwise to advise the Court
26   of the status of settlement. (ECF No. 54.)
27          WHEREAS, the Parties have negotiated and executed a settlement agreement that completely
28   resolves the matters at issue in the Coverage Action.

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 1          WHEREAS, the Parties anticipate that the settlement agreement will be performed in relevant
 2   part on or before December 31, 2021.
 3          WHEREAS, given resolution of this matter in principle, and the Parties’ expectation that the
 4   settlement agreement will be performed in relevant part on or before December 31, 2021, the Parties
 5   request an extension of time to December 31, 2021 for Freyssinet to dismiss the Coverage Action with
 6   prejudice.
 7          NOW, THEREFORE, IT IS HEREBY STIPULATED AND AGREED:
 8          On or before December 31, 2021, Freyssinet will dismiss the Coverage Action with prejudice,
 9   or the Parties will otherwise advise the Court of the status of settlement.
10

11          DATED this 1st day of December, 2021.
12                                                            BAILEYKENNEDY
13

14                                                   By:      /s/ Sarah E. Harmon
                                                              SARAH E. HARMON
15
                                                              - AND –
16
                                                              JAMES P. KOELZER
17                                                            ELIZABETH L. MUSSER
                                                              JENNIFER MCKEE
18                                                            CLYDE & CO US LLP
19
                                                     Attorneys for Defendants
20                                                   Certain Underwriters at Lloyd's, London Subscribing to
                                                     Policy No. B0595XN5229017 (erroneously sued as
21                                                   Certain Underwriters at Lloyd's London subscribing to
                                                     Besso policy number B0595XN5229017, Apollo
22                                                   Liability Consortium Number 9984, including Apollo
                                                     Syndicate Management Limited)
23

24
                                                     Order
25
                                         IT IS SO ORDERED
26                                       DATED: 10:33 am, December 02, 2021


27
                                         BRENDA WEKSLER
28                                       UNITED STATES MAGISTRATE JUDGE


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 1                                          SNELL & WILMER LLP
 2

 3                                   By:    /s/ Kelly Dove
                                            KELLY DOVE
 4                                          GIL KAHN
 5                                          - AND –
 6                                          DAVID E. SUCHAR
                                            JOHN R. DARDA
 7                                          BRYAN R. FREEMAN
                                            JEVON C. BINDMAN
 8                                          MASLON LLP
 9
                                     Attorneys for Plaintiff
10                                   Freyssinet, Inc.
11

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15                                                               IT IS SO ORDERED:
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17                                           UNITED STATES DISTRICT COURT JUDGE
18

19                                              Dated:

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